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                                                                                E-FILED
                                                    Monday, 19 May, 2008 03:29:07 PM
                                                        Clerk, U.S. District Court, ILCD
                                                                              IL
                                                                          MAY 1 9 2008
                     IN THE UNITED STATES DISTRICT COURT               CLERK OF COURT
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                                                                 CENTRAL DISTRICT OF ILLINOIS
                        CENTRAL DISTRICT OF ILLINOIS
.                              (SPRINGFIELD)
                                      o
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                                      o
                                      o             Hon. Jeanne E. Scott
UNITED STATES OF AMERICA
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                                      o
      (PLAINTIFF)
                                      o
                                      o
                                                    Crim. No. ~3   =   Db ,.. cr :3Qo'l1
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v.
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                                      o
DERRICK WALKER;     pro se
                                      o
                                      o
      (DEFENDANT)
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                                      o

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            SUPPLEMENT TO 18 U.S.C. § 3582(c) (2) MOTION
            h                              .




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                        Here comes Derrick Walker, In propria persona,

                hereby, respectfully moves this Honarable Court to

                supplement his previous 18 U.S.C. 3582(c) (2) motion

                with this instant submission, In the interest of justice,

                in order to fully detail his eligibility for such relief.
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  Jurisdiction


      A sentencing court's authority to reopen, and reduce a sentence

under 18 U.S.C.    §    3582(c) (2) is triggered when the sentence was based

on a sentencing range that has subsequently been lowered by the

Sentencing Commission, pursuant to "its power to review and revise the

Guidelines." The       cra_g,~   guidelines squarely rests within that description.

Effective November 1, 2007, the Commission lowered sentencing ranges for

crack offenses by two levels, because it found that the "crack

guidelines"   ~r::£u~!ted              crack offenders. On December 11, 2007. The

Commission voted to make that amended guideline retroactive. Therefore

nothing is needed to trigger the court's authority to revisit a

sentence under 18 U.S.C.           §    3582(c) (2). Hence the instant submission.



I. Defendant Is Eligible For A Sentence Reduction
   Irregardless Of Career Offender Designation


                 SUMMARY OF ARGUMENT


      First, the Movant herein respectfully directs the court to note

that the amended section of U.S.S.G.                 §   1B1.1 10«(j»(2) (B) should be

treated as advisory, pursuant to United                   State~-y._~2..0ke.!:,   543 U. S. 220

(2005); and fun_n:i;ngham v. California, _ _ ,U.S.                     , 137 S.Ct. 856(2007).



      Second, nothing in the statutory language requires that the

Guideline amendment "actually" have the effect of lowering a defendant's

guideline range before the the sentencing court can revisit the

sentence. Rather the statute requires that the defendant's sentence was

based on a sentencing range that has subsequently been lowered. See:



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                                                , u.s.           , 128 S. Ct. 586 (2007) Which

    mandates that "a district court should begin                              al~   sentencing

     proceedings by correctly calculating the applicable Guidelines range."

     The guidelines should be the starting place, and the initial,

    benchmark, of course, they aren't the only thing to be considered, the

     sentencing court should consider all of the 18 U.S.C.                                 §   3553 (a)

     factors.



              Third,       .~~.~hl.:   crack sentences are a result of the disparate (which

     still exist) and disproportionately inconsistent crack guidelines

     sentencing ranges." For it was these ranges that represented the

     starting point of every federal drug offender's sentence; pre and post

    ;!!.~q!5.~~, .~.':l2!:~,   even jf the defende.nt was ultimately sentenced under

    §   4B1<:L or      §   4b1.4. Therefore this court has the inherent authority to
     issue whatever sentence it deems necessary to ensure that justice. is




                                           ARGUMENT   A.~D     LAW




              The defendant herein was classified as a Career Offender, and

    was sentenced to a                 mand~tory   term of lifer even though the Guidel.ines

    were advisory during his sentenci.ng, and the "crack guidelines" that

    the Commission would. la.ter amend,                  ~1ere       in    pla.ce during his sent.encing

    as well. The sentencing judge expressed reget with while administeri.ng

    the harsh sentence, stating on the record                             verbatiJJ1.~   "my bands are    t.jed~"

     In addition she W0111d also note how such sentences congruent with the


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the crack epidemic,



        The defendant was charged with one count of violating 21 U.S.C.

§   841 Possession of fifty grams or more, with intent to distribute

(specifjc;ally sixty-two grams of crack, cocaine base); one count of
"
18 U.S.C. §924(c) and one count of 18 U.S.C. § 922(g). with a

recommended guideline sentence of two-hundred and sixty-two months, to

three-hundred and twenty-seven months (without the 4Bl.l or 4Bl.4

provision). However, the defendant was careered for his prior state

convictions. These convictions being Aggravated       Bo...t+er~"   in which he

received two years probation (that was successfully completed); Unlawful

Delivery Of A Controlled Substance (specifically 0.7 grams of crack

cocaine), and Unlawful Possession with Intent To Distribute a Controlled

Substance (another minute amount of crack cocaine) .



    (1) The Legislative intent behind the UeS.S.G. Commission when they

legislated 4Bl.l/4Bl.4      wasn't to punish petty drug offenders, nor was

their intent to punish drug offenses that wouldn't constitute a felony

under the federal Controlled Substance Act (Thus, the defendant l s prior

§t~te   drug offenses are petty, and are deemed probational, even under

the notorious crack guidelines, nor do they constitute felonies under

the federal Controlled Substance Act) .



    (2) Was it proper for the court to give the defendant a life sentence

for prior state crimes, those of which he has already been punished

for by the state. Such would be a factor to consider during re-

sentencing under 3553(a). Especially considering the double jeopardy

concerns. Which is precisely the issue before the Supreme Court in


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   .~obert    Mercado Jr. v. United States, No. 07-5810 (2007), and in

   !--H.rendi v. New Jersey, 530              u.s.    466 (2000) the court held that "the

    judge:s       role in sentencing is constrained at its outer limits by the

    facts    alle.<l...~9:.   in the:. indictmeni:., " and recently in    Cunningh~,   !,upra,

   the court unequivocally stated: "if the jury's verdict alone does not

   authorize a sentence •.• the Sixth Amendment requirement is not satisfied."

    "The door remains open for a defendant to demonstrate that his sentence,

   whether inside or outside the advisory Guidelines range, would not have

   been upheld, but for the existence of a fact found by the sentencing

    judge and not the jury."              ~al~,   sppra, at 128 S.Ct. 602-03 (Scalia .. J

   concurring). All of which should be considered pursuant to 3553(a).



      (3) Compounding the matter, the defendant didn't have the opportunity
   to independently weigh, the drug in question. In order to establish

   the "actual'drug amount." Which may clearly be below the sixty-two

   grams that the government alleges, which would in turn trigger a less

   harsher sentence under the guidelines, and this is factor that the

   defendant guides the court to consider, under § 3553(a). Again, this

   squares soundly with the mandate in Qal! ..                  supr~,   Id at 591 "the extent of

   the difference between a particular sentence and the recommended guide-

   line range is sure-'!y relevant to a sentencing decision."



            "If the court decides that an outside-Guideline sentence is

   warranted~        he must note the deviation, and ensure that the justification

   is sufficiently             c;omp~lling   to support the, degree of variance. We find

   i t uncontroversial that a              ~~or      departure should be supported by a

   more significant justification than a minor one."                      Id at 128 S.Ct.

   597.     Furthermore as the crack guidelines that rendered this



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    defendant's life sentence has been ruled unconstitutional in the

    context of the one-hundred to one rat,iot and the disparity therein, the

    court should note that this unconstitutional element existed at the

    time when it administered the sentence that is being challRnged.



                For nothing in the Guidelines are mandatory, not 4B1.1/4B1.4

    4B1.2(a). Specifically, thes~ statutes require judge found facts, and

    in turn trigger Fifth and Sixth Amendment violations. See: Stinson

   _.
   v. United
        -~-------
                      States, 508 U.S. 36,38,    (1993) "the guidelines are author-

    itative unless it violates the Constitution." Hicks, 477 F.3d. at 1172-

    73 "to the extent that the policy statement are inconsistent with

   Booker, _supra, by requiring that the Guidelines be treated as mandatory,

   the policy must give way."



   B.           It is highly unlikely that 3582(c) (2) could be interpreted to

   require even stricter limitations on judicial discretion after Booker

    sup:r:a{.    I~   at 265. For 3553(a) is the governing law that encompasses

   the re-sentencing herein, and likewise the defendant deserves the

   benefit of the statutory sentencing criteria that's effective during his

   resentencing, and during the consideration of his § 3582(c) (2) motion.




            The defendant herein guides the court to consider the

   genocidal effect that these draconian crack sentences has had on the

   African-American community as a whole, and especially us young men, who

   are twice caught in its matrix (in the inner cities, and in the

    jUdicial system). In hindsight these Guidelines were adopted hastily

   by Congress as reflex to the influx of drugs that was being imported into

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     America during the eighties, as a result, little or no empirical study,

     no research, and little academic research to justify its disparity to

     cocaine, even after taking note of its disproportionate effect on the

     African-American community, which is has reached pandemic proportions.




                                                            Sincerely Submitted




                         CERTIFICATE OF MAILING



           I, the undersigned do hereby swear by my signature that foregoing

     SUPPLEMENT TO 18 U.S.C. § 3582(c) (2) MOTION was mailed via          u.s.
     Certified Mail to the party listed below, On         This_LQ:~   day of May, 2008.

     Sworn to pursuant 28 U.S.C. 1746.




     Clerk Of Court

     100 N.E. Monroe Street

     Peoria, Illinois 61602




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